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     8                        UNITED STATES DISTRICT COURT
     9                     SOUTHERN DISTRICT OF CALIFORNIA
    10

    11   DOMINIC FONTALVO, a minor, by            Case No.: 3:13-cv-00331-GPC-KSC
         and through his Guardian Ad Litem,
    12   TASHINA AMADOR, individually
         and as successor in interest to Alexis   Judge: Hon. Gonzalo P. Curiel
    13   Fontalvo, deceased, and
         TANIKA LONG, a minor, by and
    14   through her Guardian Ad Litem,
         TASHINA AMADOR,
    15                                            PLAINTIFFS’ SEPARATE
                                                  STATEMENT OF ADDITIONAL
    16                      Plaintiff,            MATERIAL FACTS IN
                                                  OPPOSITION TO MOTION FOR
    17         vs.                                SUMMARY JUDGMENT
    18
         SIKORSKY AIRCRAFT
    19   CORPORATION;
         SIKORSKY SUPPORT SERVICES,
    20   INC.; UNITED TECHNOLOGIES
         CORPORATION;                             DATE:       August 11, 2017
    21   G.E. AVIATION SYSTEMS, LLC;              TIME:       1:30 P.M.
         DUPONT AEROSPACE CO.;                    CTRM:       2D
    22   E.I. DUPONT DE NEMOURS AND
         COMPANY;
    23   PKL SERVICES, INC.; and
         DOES 1 through 100, Inclusive,
    24
                      Defendants.
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         PLAINTIFFS’ SEPARATE STATEMENT                  CASE NO. 3:13-CV-00331-GPC-KSC
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   1           TO DEFENDANTS SIKORSKY AIRCRAFT AND THEIR ATTORNEYS
   2     OF RECORD:
   3           Plaintiffs submit this Separate Statement of Additional Material Facts in
   4     Opposition to Sikorsky’s Motion for Summary Judgment [Doc. No. 164] as
   5     follows:
   6

   7            Material Fact and                            Response and Evidence
   8            Supporting Evidence
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  12      1. The Air Mishap Board (“AMB”) 1.
  13      conducted       an     investigation      in
  14      connection with the fatal mishap
  15      involving CH-53E helicopter BuNo
  16      163077 on March 17, 2011, which
  17      killed Staff Sgt. Alexis Fontalvo; as a
  18      result the AMB generated a Safety
  19      Investigation        Report      (“SIR”).
  20      Shepardson      Decl.,    Ex.   A      (SIR,
  21      MIL073479–073563)
  22      2. Sikorsky is the manufacturer of CH- 2.
  23      53E helicopter BuNo 163077 (the
  24      “Subject Aircraft”).
  25      Shepardson Decl., Ex. B (Wakefield
  26      Depo., p. 26:3–6)
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   1             Material Fact and                       Response and Evidence
   2             Supporting Evidence
   3     3. Sikorsky designed the landing gear 3.
   4     wiring     harness   of     the   CH-53E
   5     helicopter.
   6     Shepardson Decl., Ex. B (Wakefield
   7     Depo., pp. 170:16–171:4)
   8     4. Neither NAVAIR nor the Navy 4.
   9     designed the CH-53E helicopter or the
  10     landing gear wiring harness.
  11     Shepardson Decl., Ex. II (Jordan
  12     Depo.), pp. 18:25–19:1
  13     5. John Wakefield is a spokesman for 5.
  14     Sikorsky, duly designated to testify on
  15     behalf of the corporation regarding the
  16     role of the U.S. Government in the
  17     design    process    for    the   CH-53E
  18     helicopter.
  19     Shepardson Decl., Ex. B (Wakefield
  20     Depo., p. 12:7–13)
  21     6. John       Wakefield     intermittently 6.
  22     served as Program Director for the CH-
  23     53 program at Sikorsky from 1988 to
  24     2003.
  25     Shepardson Decl., Ex. B (Wakefield
  26     Depo., pp. 13:22–14:13)
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   1           Material Fact and                             Response and Evidence
   2           Supporting Evidence
   3     7. The      Subject        Aircraft      was 7.
   4     manufactured pursuant to the Detail
   5     Specification    for   Model          CH-53E
   6     Helicopter FY-86 Procurement, SD-
   7     552-3-9.
   8     Shepardson Decl., Ex. B (Wakefield
   9     Depo., p. 26:3–6);
  10     Wakefield Decl., Ex. 10 (Detail Spec
  11     SD-552-3-9)
  12     8. The preliminary (or proposed) Detail 8.
  13     Specification SD-552-3, which was
  14     intended to govern the requirements of
  15     the prototype YCH-53E to be produced
  16     by   Sikorsky,       was     authored     by
  17     Sikorsky.
  18     Shepardson Decl., Ex. C (Preliminary
  19     Detail Specification fot Model YCH-
  20     53E Prototype Helicopter for U.S.
  21     Navy),      p.   1         (Cover      Sheet)
  22     [SIK014944]
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   1             Material Fact and                        Response and Evidence
   2             Supporting Evidence
   3     9. All of the provisions of the Detail 9.
   4     Specification regarding the landing
   5     gear    went    unchanged     from     the
   6     preparation of the Preliminary Detail
   7     Specification, to the publication of the
   8     revised Detail Specification (SD-552-
   9     3-9).
  10     Shepardson Decl. Ex. B (Wakefield
  11     Depo. pp. 156:5–160:6, 162:5–7);
  12     Shepardson Decl., Ex. C (SD-552-3),
  13     Secs. 3.8.2 (pp. 50 (SIK015015) to 52
  14     (SIK015017));     and    3.8.4   (p.   52
  15     (SIK015015));
  16     Wakefield Decl., Ex. 10 (Detail Spec
  17     SD-552-3-9), Secs. 3.8.2 (pp. 49
  18     (SIK007081) to 51 (SIK007083)); and
  19     3.8.4 (pp. 51–52 (SIK007083–84)).
  20     10. Mr. Wakefield was unable to 10.
  21     identify or produce any evidence that
  22     the U.S. Navy reviewed or approved
  23     any detail of the landing gear wiring
  24     harness of the CH-53E.
  25     Shepardson Decl. Ex. B (Wakefield
  26     Depo. pp. 136:17–137:1).
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   1            Material Fact and                            Response and Evidence
   2            Supporting Evidence
   3     11. There is no evidence that Sikorsky 11.
   4     ever informed the U.S. Navy that the
   5     landing gear of the CH-53E could
   6     inadvertently retract in the event of a
   7     short circuit.
   8     Shepardson Decl. Ex. B (Wakefield
   9     Depo. pp. 138:4–17)
  10     12. There is no evidence that the U.S. 12.
  11     Navy     ever     contributed        to   the
  12     development of the landing gear wiring
  13     harness of the CH-53E.
  14     Shepardson Decl. Ex. B (Wakefield
  15     Depo. pp. 139:24–141:3, 142:9–13);
  16     & GG (Lawrence Report), pp. 10–12;
  17     Lawrence Decl., paras. 6 & 12.
  18     13. There    is   no        record   of   any 13.
  19     correspondence         in      which      the
  20     government addressed or dictated the
  21     configuration of the landing gear
  22     interlock system of the CH-53E.
  23     Shepardson Decl. Exs. B (Wakefield
  24     Depo. p. 82:10–15) & GG (Lawrence
  25     Report), pp. 10–12; Lawrence Decl.,
  26     paras. 6 & 12
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   1             Material Fact and                       Response and Evidence
   2             Supporting Evidence
   3     14. There is no evidence of any facts 14.
   4     reflecting any government participation
   5     in the design of the CH-53D landing
   6     gear system.
   7     Shepardson Decl. Ex. B (Wakefield
   8     Depo.     pp.   87:25–88:6);      &   GG
   9     (Lawrence       Report),    pp.   10–12;
  10     Lawrence Decl., paras. 6 & 12
  11     15. There is no evidence of any facts 15.
  12     reflecting any government participation
  13     in the design of the CH-53D wiring
  14     system.
  15     Shepardson Decl. Ex. B (Wakefield
  16     Depo.     pp.   88:7–88:16);      &   GG
  17     (Lawrence       Report),    pp.   10–12;
  18     Lawrence Decl., paras. 6 & 12
  19     16. The schematic for the landing gear 16.
  20     wiring system of the CH-53E is
  21     different from the one for that of the
  22     RH-53D.
  23     Lawrence Decl., para. 11; Exs. A (-
  24     53D Schematic (SIK024984)) & B (-
  25     53E       Schematic         (SIK008384));
  26     Bloomfield Decl., paras. 4 & 5
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   1           Material Fact and                            Response and Evidence
   2           Supporting Evidence
   3     17. The differences in the schematics 17.
   4     for the two systems reflect physical
   5     and     configurational         differences
   6     between the landing gear wiring
   7     harnesses     in   the    two      aircraft.
   8     Lawrence Decl., para. 11; Exs. A (-
   9     53D Schematic (SIK024984)) & B (-
  10     53E      Schematic        (SIK008384));
  11     Bloomfield Decl., paras. 4 & 5
  12     18. There is no signature indicating 18.
  13     government approval of the schematic
  14     for the landing gear control system of
  15     the CH-53E.
  16     Lawrence Decl., para. 13, Ex. B
  17     (SIK008384)
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  19     19. There is no signature indicating 19.
  20     government approval of the schematic
  21     for the landing gear control system of
  22     the RH-53D.
  23     Lawrence Decl., para. 13, Ex. A
  24     (SIK024984)
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   1           Material Fact and                         Response and Evidence
   2           Supporting Evidence
   3     20. The configuration of the hydraulic 20.
   4     utility manifold (“UM”) in in the CH-
   5     53E is different than that of the UM in
   6     the RH-53D; specifically, in the RH-
   7     53D the UM was not a unified
   8     electromechanical     assembly,       but
   9     instead was a manifold of separate,
  10     side-by-side hydraulic valves.
  11     Shepardson Decl., Ex. D (Knox Depo.
  12     pp. 50:15–25, 51:10–53:3)
  13     21. The UM interfaces with the landing 21.
  14     gear wiring harnesses at plugs that are
  15     representationally   depicted    in   the
  16     schematics.
  17     Bloomfield Decl., paras. 4 & 5; Exs.
  18     1 (-53D Schematic (SIK024984)) & 2
  19     (-53E Schematic (SIK008384))
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    1           Material Fact and                        Response and Evidence
    2           Supporting Evidence
    3     22. The configuration of the landing 22.
    4     gear wiring harness plugs at the UM in
    5     in the CH-53E is different than that of
    6     the UM in the RH-53D; specifically, in
    7     the RH-53D, the landing gear up- and
    8     down-command valves were connected
    9     in a single plug connector, designated
   10     P499, whereas in the CH-53E the up-
   11     and down-command functions were
   12     separated into two different plug
   13     connectors, designated P494 (up) and
   14     P495 (down).
   15     Bloomfield Decl., paras. 4 & 5; Exs.
   16     1 (-53D Schematic (SIK024984)) & 2
   17     (-53E Schematic (SIK008384))
   18     23. The   different   configuration   of 23.
   19     utility manifold valves and plugs
   20     necessarily required a change in the
   21     configuration of the landing gear
   22     wiring harness that powered the valves
   23     controlling    the     landing    gear.
   24     Lawrence Decl., paras. 9–11; Exs. A
   25     (-53D Schematic (SIK024984)) & B (-
   26     53E Schematic (SIK008384))
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           PLAINTIFFS’ SEPARATE STATEMENT                CASE NO. 3:13-CV-00331-GPC-KSC
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    1           Material Fact and                         Response and Evidence
    2           Supporting Evidence
    3     24. The up- and down-valve plug 24.
    4     connectors on the UM were arranged
    5     in a single vertical dimension, so that
    6     the up-command plug (P494) was
    7     directly and immediately below the
    8     down-command plug (P495).
    9     Shepardson       Decl.,     Exs.      E
   10     [SIK008317]     &     F    (Bloomfield
   11     Report), paras. 17 & 18.
   12     25. This configuration of the landing 25.
   13     gear control valves on the UM allowed
   14     the wires leading to the up-command
   15     valve to rub and chafe against the wires
   16     leading to the down-command valve.
   17     Shepardson Exs. A, (SIR), p. 45,
   18     paras. 45–52; F (Bloomfield Report),
   19     paras. 17 & 18; G (Coffman Report),
   20     p. 3; H (Wuthrich Report), I (Bare
   21     Wire Photos); J (Microscopic Photos
   22     of P494).
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           PLAINTIFFS’ SEPARATE STATEMENT                 CASE NO. 3:13-CV-00331-GPC-KSC
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    1           Material Fact and                           Response and Evidence
    2           Supporting Evidence
    3     26. This configuration and orientation 26.
    4     of   the   CH-53E’s     separate     plugs
    5     powering the up- and down landing
    6     gear functions was entirely absent on
    7     the RH-53D.
    8     Bloomfield Decl., paras. 5 & 6; Exs.
    9     1 (-53D Schematic (SIK024984)) & 2
   10     (-53E Schematic (SIK008384));
   11     Shepardson Decl., Ex. D, Knox
   12     Depo., pp. 50:15–25, 51:10–53:3.
   13     27. The CH-53E has three engines. 27.
   14     Shepardson Decl. Ex. B (Wakefield
   15     Depo. p. 247:16–24)
   16     28. The RH-53D had two engines. 28.
   17     Shepardson Decl. Ex. B (Wakefield
   18     Depo. p. 247:16–24)
   19     29. The     accommodation       of     an 29.
   20     additional engine in the CH-53E by
   21     necessity required a global overhaul of
   22     the aircraft’s wiring configuration.
   23     Lawrence Decl., para. 9
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    1           Material Fact and                          Response and Evidence
    2           Supporting Evidence
    3     30. The UM of the CH-53E helicopter 30.
    4     BuNo 163077 was fabricated and
    5     assembled        by   Eaton   Aerospace.
    6     Shepardson Decl. Ex. K (Stelzer
    7     Depo., pp. 251:22–252:1)
    8     31. When the UM was fabricated 31.
    9     during the manufacture of the Subject
   10     Aircraft,   segments     of   wire   were
   11     already connected to the UM’s Cannon
   12     plug connectors, with unterminated
   13     opposite ends; these segments of wire
   14     are known colloquially in the industry
   15     as “pigtails”.
   16     Shepardson Decl. Ex. K (Stelzer
   17     Depo., pp. 118:25–119:16)
   18     32. The “pigtails” were not made of 32.
   19     wire insulated with Kapton, but were
   20     instead a type of wire known as “white
   21     wire” or “Spec-55 wire”.
   22     Shepardson Decl. Exs. G (Coffman
   23     Report), p. 2–3; H (Wuthrich Report),
   24     p. 2 (MIL073204); L (Stone Depo.),
   25     pp. 78:17–79:25.
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    1           Material Fact and                        Response and Evidence
    2           Supporting Evidence
    3     33. “Spec-55” wire can be identified 33.
    4     by the bright white pigmentation of the
    5     outer casing.
    6     Shepardson Decl., Ex. K (Stelzer
    7     Depo., p. 255:17–21)
    8     34. “Spec-55”    wire     contains   no 34.
    9     Kapton.
   10     Shepardson Decl., Ex. K (Stelzer
   11     Depo., p. 254:11–17)
   12     35. When the Eaton-assembled UM 35.
   13     was installed by Sikorsky into the
   14     Subject Aircraft, Sikorsky personnel
   15     spliced the Spec-55 “pigtails” onto the
   16     Kapton wire used for the main wiring
   17     bundle.
   18     Shepardson Decl., Ex. K (Stelzer
   19     Depo., pp. 118:14–119:8)
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    1           Material Fact and                          Response and Evidence
    2           Supporting Evidence
    3     36. When the UM wiring was spliced 36.
    4     and assembled by Sikorsky during
    5     manufacture, the Spec-55 wiring at
    6     P494 (the up-command control wire)
    7     had excessive slack, allowing the wire
    8     to come in contact with the UM mount
    9     frame.
   10     Shepardson Decl., Ex. A (SIR), p. 45,
   11     lines 45 & 50 [MIL073523].
   12     37. The improper bundling, splicing 37.
   13     and      supporting   of   the    Spec-55
   14     segments of both the up- and down-
   15     command wires permitted rubbing and
   16     chafing that ultimately produced bare
   17     (denuded)       segments     of     metal
   18     conductive wire on both the up-
   19     command Spec-55 wire and the down-
   20     command Spec-55 wire.
   21     Shepardson Decl., Exs. A (SIR), p.
   22     45, lines 48, 50 & 52 [MIL073523]; G
   23     (Coffman Report), pp. 3–4;          & H
   24     (Wuthrich Report), p. 1.
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    1           Material Fact and                         Response and Evidence
    2           Supporting Evidence
    3     38. The uncommanded landing gear 38.
    4     retraction giving rise to this suit
    5     occurred due to the entry of errant
    6     voltage into the up-command control
    7     wire path through a breach in the
    8     insulation.
    9     Shepardson Decl., Exs. G (Coffman
   10     Report),      pp.   3–4;   M   (Reynolds
   11     Report), p. 17, para. No. 10; and N
   12     (Knox Report), p. 25 para. 6.4 & p. 54
   13     para. 10.
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           PLAINTIFFS’ SEPARATE STATEMENT                 CASE NO. 3:13-CV-00331-GPC-KSC
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    1           Material Fact and                            Response and Evidence
    2           Supporting Evidence
    3     39. The    official   investigators    for 39.
    4     NAVAIR expressly declined to find
    5     that Kapton played a role in the
    6     mishap,     instead     limiting      their
    7     conclusion to the following: “AN
    8     UNDETERMINED VOLTAGE WAS
    9     PRESENT ON THE WIRING THAT
   10     PROVIDES        POWER        TO       THE
   11     LANDING          GEAR        CONTROL
   12     VALVE. THIS WIRING COULD
   13     HAVE BEEN EITHER KAPTON OR
   14     SPEC 55 DEPENDING ON THE
   15     LOCATION OF THE VOLTAGE
   16     INTRUSION. THE SOURCE AND
   17     POINT      OF    ENTRY       OF       THIS
   18     VOLTAGE         ON    THE     SUSPECT
   19     WIRING IS UNDETERMINED.”
   20     Shepardson Decl., Ex. W (EI Final
   21     Report).
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           PLAINTIFFS’ SEPARATE STATEMENT                    CASE NO. 3:13-CV-00331-GPC-KSC
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    1             Material Fact and                                 Response and Evidence
    2             Supporting Evidence
    3     40. There was not a single identifiable 40.
    4     point on the Kapton portion of the
    5     landing gear wiring harness in which
    6     the     double-wrapped            amber-colored
    7     insulation had been penetrated so as to
    8     expose      any       conductive          metallic
    9     element.
   10     Shepardson Decl., Exs. G (Coffman
   11     Report), p. 2; M (Reynolds Report,
   12     Appendix          N      of         Microscopic
   13     Photographs), pp. 133 to 142.
   14     41. The only type of wire from the 41.
   15     Subject Aircraft’s up-command control
   16     wire path in which exposed conductive
   17     metal element was visible to the naked
   18     eye was Spec-55 wire, and none was
   19     visible on any of the Kapton-insulated
   20     wire.      Shepardson Decl., Exs. H
   21     (Wuthrich     Report),        pp.     1     &   2
   22     [MIL073203–04];               G       (Coffman
   23     Report),    pp.       2–3;    M      (Reynolds
   24     Report), pp. 14–15.
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    1           Material Fact and                       Response and Evidence
    2           Supporting Evidence
    3     42. The only type of wire from the 42.
    4     Subject Aircraft’s up-command control
    5     wire path in which exposed conductive
    6     metal element was visible under
    7     microscopy was Spec-55 wire, and
    8     none was visible even microscopically
    9     on any of the Kapton-insulated wire.
   10     Shepardson Decl., Ex. M (Reynolds
   11     Report), p. 15.
   12     43. The only type of wire from the 43.
   13     Subject Aircraft’s up-command control
   14     wire path in which exposed conductive
   15     metal element was confirmed under
   16     Energy     Dispersive     Spectroscopy
   17     (“EDS” or “EDAX”) was Spec-55
   18     wire, and none was evident upon EDS
   19     analysis on any of the Kapton-
   20     insulated wire.
   21     Shepardson Decl., Ex. M (Reynolds
   22     Report), p. 15; N (Knox Report), pp.
   23     49–50.
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    1           Material Fact and                         Response and Evidence
    2           Supporting Evidence
    3     44. The only type of wire from the 44.
    4     Subject     Aircraft’s   down-command
    5     control wire path in which exposed
    6     conductive       metal   element    was
    7     confirmed under Energy Dispersive
    8     Spectroscopy (“EDS” or “EDAX”)
    9     was Spec-55 wire, and none was
   10     evident upon EDS analysis on any of
   11     the Kapton-insulated wire.
   12      Shepardson Decl., Ex. M (Reynolds
   13     Report), p. 15; N (Knox Report), pp.
   14     49–50.]
   15     45. The only type of wire from the 45.
   16     Subject     Aircraft’s   down-command
   17     control wire path in which exposed
   18     conductive metal element was visible
   19     under microscopy was Spec-55 wire,
   20     and       none    was     visible   even
   21     microscopically on any of the Kapton-
   22     insulated wire. Shepardson Decl, Ex.
   23     M (Reynolds Report), p. 15.
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    1           Material Fact and                               Response and Evidence
    2           Supporting Evidence
    3     46. The damage to the Spec-55 wire 46.
    4     leading     to   P494 and         P495    was
    5     consistent with prolonged chafing, in
    6     light of the smooth, worn edges.
    7     Shepardson Decl, Ex. G (Coffin
    8     Report), pp. 2–3; J (microscopic
    9     photographs of Spec-55 wire)
   10

   11     47. At the time of Sikorsky’s mishap 47.
   12     wiring inspection, the Kapton wiring in
   13     the subject harness was found to be in
   14     pristine    condition, with        its   outer
   15     sheathing         having           maintained
   16     remarkable physical integrity, except
   17     for   several     areas      of    superficial
   18     mechanical damage.
   19     Hickey Decl., Ex. A, Encl. 41
   20     (Sikorsky        Materials        Engineering
   21     Report), p. 3 of 9.
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    1           Material Fact and                               Response and Evidence
    2           Supporting Evidence
    3     48. Sikorsky’s engineering investigator 48.
    4     Manning      Stelzer        contrasted    the
    5     condition of the wiring harness from
    6     BuNo 163077 with that of the CH-53E
    7     involved in the 2005 New River
    8     mishap (BuNo 161394), in which the
    9     wire showed visible, verifiable signs of
   10     deterioration,     exhibited     as   “radial
   11     cracking.”
   12     Hickey Decl., Ex. A, Encl. 41
   13     (Sikorsky        Materials      Engineering
   14     Report), p. 3 of 9.
   15     49. The superficial damage to the outer 49.
   16     Kapton sheathing was caused by
   17     mechanical       scraping      and    friction
   18     during the harness’s handling by
   19     military and/or Sikorsky personnel,
   20     after the mishap occurred.
   21     Shepardson Decl., Ex. G (Coffman
   22     Report), p. 2.
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    1           Material Fact and                        Response and Evidence
    2           Supporting Evidence
    3     50. Mr. Knox did no chemical analysis 50.
    4     that might indicate that any of the up-
    5     command control wire had undergone
    6     any       chemical        deterioration
    7     characteristic of “Kapton degradation.”
    8     Shepardson Decl., Ex. D (Knox
    9     Depo., p. 205:7–206:9)
   10

   11     51. Mr. Knox admitted that he is not 51.
   12     qualified to perform the type of
   13     chemical analysis that might indicate
   14     that any of the up-command control
   15     wire had undergone any chemical
   16     deterioration characteristic of “Kapton
   17     degradation.”
   18     Shepardson Decl., Ex. D (Knox
   19     Depo., p. 205:7–206:9)
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    1              Material Fact and                      Response and Evidence
    2              Supporting Evidence
    3     52. Mr. Knox did, however, admit that 52.
    4     the transfer of errant voltage into the
    5     up-command control wire more likely
    6     than not occurred due to direct
    7     contact      with    another     denuded
    8     segment of wire.
    9     Shepardson Decl., Ex. N (Knox
   10     Report), p. 54.
   11     53. The design purpose of the Landing 53.
   12     Gear Safety Pin under the applicable
   13     general military specifications is “for
   14     securing each landing gear in the down
   15     position, to prevent collapse during
   16     ground maintenance.”
   17     Shepardson Decl., Exs. B (Wakefield
   18     Depo.), p. 133:10–135:8; & Z (SD-
   19     24J, Vol. II), p. 67, Sec. 3.23.2.12.
   20     54. SSgt. Fontalvo was not a crew 54.
   21     chief.
   22     Hickey Decl., Ex. A (Command
   23     Investigation Report), p. 4, para. 3.e.
   24     [MIL073009]
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    1             Material Fact and                            Response and Evidence
    2             Supporting Evidence
    3     55. Before March 17, 2011, at no time 55.
    4     were         aircrewman      or     airframes
    5     mechanics formally taught the function
    6     of the landing gear safety pin, or the
    7     danger and immediate actions if the pin
    8     is not functioning properly.
    9     Hickey Decl., Ex. A (Command
   10     Investigation Report), p. 13, para. 10.
   11     [MIL073018]
   12

   13     56. Before March 17, 2011, knowledge 56.
   14     regarding the function of the landing
   15     gear safety pin, and the danger and
   16     immediate actions if the pin is not
   17     functioning      properly,    was     handed
   18     down by word of mouth at crew chief
   19     school among experienced crew chiefs,
   20     if at all.
   21     Hickey Decl., Ex. D (NCIS Report), p.
   22     2 [MIL092438]
   23     57. Before March 17, 2011, not all 57.
   24     crew chiefs were aware of the hazard
   25     but some were.
   26     Hickey Decl., Ex. D (NCIS Report), p.
   27     2 [MIL092438]
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    1           Material Fact and                         Response and Evidence
    2           Supporting Evidence
    3     58. Before March 17, 2011, no non- 58.
    4     crew chief MOS aircrewman was ever
    5     have been made aware of the hazard in
    6     any training or operational venue.
    7     Hickey Decl., Ex. D (NCIS Report), p.
    8     2 [MIL092438]
    9     59. All of Staff Sergeant Fontalvo’s 59.
   10     peers who were on active duty with
   11     him on March 17, 2011, testified that
   12     up until that date, they were never
   13     taught anything, and never knew
   14     anything,   about    the   danger    and
   15     immediate actions if the landing gear
   16     safety pin is not functioning properly.
   17     Shepardson Decl., Exs. O (Captain
   18     M. Hamilton Depo., pp. 84:11–85:17,
   19     87:20–22); P (Coffin Depo., pp.
   20     61:12–62:1); Q (Danley Depo., pp.
   21     20:18–21:2); R (Shelton Depo., pp.
   22     117:6–11, 146:1–5, 158:17–25); S
   23     (Captain J. Brown Depo., p. 99:8–17);
   24     & T (Sgt. J. Perkins Depo., p. 33:4–7)
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    1           Material Fact and                         Response and Evidence
    2           Supporting Evidence
    3     60. Sikorsky’s own retained expert 60.
    4     James Knox states that the accident
    5     was not foreseeable.
    6     Shepardson Decl., Ex. N (Knox
    7     Report), p. 70, Opinion No. 9.
    8     61. The Command Investigator (Major 61.
    9     Ian Stevens) relied on Sikorsky’s
   10     internal   “engineering   investigation”
   11     that found that Kapton contributed to
   12     this mishap.
   13     Hickey Decl., Ex. A, paras. 64 & 65,
   14     Encl. 41 (Stelzer Materials Engineering
   15     Report)
   16     62. The damage to the landing gear 62.
   17     wiring harness was due to rubbing and
   18     chafing, rather than the chemical
   19     propensities of the type of insulation,
   20     and would have occurred regardless of
   21     the type of material used for the
   22     insulation.
   23     Shepardson Decl., Ex. HH (Coffman
   24     Declaration)
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    1           Material Fact and                        Response and Evidence
    2           Supporting Evidence
    3     63. Before the CH-53E went into 63.
    4     production, Sikorsky never provided
    5     the Navy with any drawings or
    6     photographic depictions of the physical
    7     configuration of the landing gear
    8     wiring harness.
    9     Lawrence Decl., para. 6.
   10     64. Before the CH-53E went into 64.
   11     production, Sikorsky never provided
   12     the Navy with any drawings or
   13     photographic depictions of the physical
   14     configuration of the hydraulic utility
   15     module.
   16     Lawrence Decl., para. 6.
   17     65. Sikorsky did, and was under 65.
   18     Contract No. N100140-91-D-DA28 to,
   19     prepare and provide manuals for the
   20     CH-53E.
   21     Shepardson        Decl.,    Ex.    AA
   22     (Publications Proposal for ECP2162),
   23     Cover Letter [SIK021989]
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    1           Material Fact and                                Response and Evidence
    2           Supporting Evidence
    3     66. Up until February 1990, Sikorsky 66.
    4     Customer      Service          had    personnel
    5     dedicated       to      “publications      and
    6     training”; after February 1990 those
    7     personnel       were         integrated    with
    8     Sikorsky’s logistics support personnel
    9     to form the Technical Support Services
   10     department.
   11     Shepardson            Decl.,         Ex.   AA
   12     (Publications            Proposal           for
   13     ECP2162),Attachment A to Enclosure
   14     (3) [SIK022034]
   15     67. Sikorsky furnished the Navy with 67.
   16     engineering data that was incorporated
   17     into the maintenance and training
   18     manuals used by the Marines.
   19     Shepardson Decl., Ex. B (Wakefield
   20     Depo.) pp. 137:17–19
   21     68. Sikorsky         never     furnished   any 68.
   22     engineering data concerning the risk of
   23     inadvertent retraction of the landing
   24     gear in the event of an electrical short.
   25     Shepardson Decl., Ex. B (Wakefield
   26     Depo.) pp. 137:20–138:12.
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    2          Dated July 6, 2017
    3

    4                                 GRASSINI, WRINKLE & JOHNSON
    5
                                        s/ Marshall J. Shepardson, Esq.
    6

    7
                                      Attorneys for Plaintiff
                                      E:Mail: mshepardson@grassinilaw.com
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